 REV 09/18                          UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF TENNESSEE
                                                          ) Case No.: 3:16-cr-176-2
                                                          )
      UNITED STATES OF AMERICA                              Judge: Jack Zouhary
                                                          )
      V.
                                                          ) Hearing Date: 7/1/2019
                                                          ) Location: ✔ Nashville     Columbia                                    Cookeville

   Eric Falkowski                                         )
                                                          ) Court Reporter: Roxann Harkins
                                                          )
  (list each defendant appearing at hearing)                Court Interpreter:
                                                          )
                                                          CRIMINAL MINUTES
  Government Attorney(s): Amanda Klopf

  Defense Attorney(s): David Kosimar

  TRIAL PROCEEDINGS                                                           NON-TRIAL PROCEEDINGS
  1. Jury Trial*                                                               7. Initial Appearance/Arraignment
  2. Non-Jury Trial*                                                           8. Plea Hearing
  3. Sentencing Hearing Contested*                                             9. Sentencing Hearing                                           ✔
  4. Supervised Release Hearing-Contested*                                     10. Status conference
  5. Probation Revocation Hearing-Contested*                                   11. Pretrial Conference
  6. Other Evidentiary Hearing*                                                12. Supervised Release Revocation Hearing
     (Describe #6 in comments section below)                                   13. Probation Revocation Hearing
*For items 1-6, a Witness/Exhibit List is required
 and must be separately filed.                                                 14. Motion Hearing
                                                                               15. Other Proceeding
JURORS (complete on day 1 only):                                                       (Describe #15 in comments section below)

   1.                                                                            7.
   2.                                                                            8.
   3.                                                                            9.
   4.                                                                            10.
   5.                                                                            11.
   6.                                                                            12.
Alt 1.                                                                        Alt 2.
  COMMENTS:

    Counsel for all parties present. Defendant present and in custody. Plea agreement accepted. Arguments by defense counsel. Arguments
    by AUSA Klopf.
    Sentence: 266 months on all counts to run concurrently and to run concurrently to FL sentence. Supervised Release - 5 years per count
    to run concurrently . No fine. No restitution. $1000 special assessment due immediately. $10,000 cash forfeiture. Appeal rights given.
    Defendant remanded to custody.


                                                                           Clerk of Court
   Total Time in Court:         1.5 hours
                                                                            by: Debby Sawyer


     Reset Form     Case 3:16-cr-00176 Document 748 Filed 07/01/19 Page 1 of 1 PageID #: 6490
